                                       4n the                         (*ates atourt of (qinints
                                                                        No. 47900

                                                             (Decided October 7, 1959)


                                       THE TLINGIT AND HAIDA INDIANS OF ALASKA
                                                 v. THE UNITED STATES


                                        Mr. I. S. TV eissbrodt for the plaintiffs. Mr. David Cobb,
                                      Mr. Abe W. TV eissbrodt, Mrs. Bella R. Shwartz, Mr. Jay H.
                                      Hoag, and Mr. Clarence G. Lindquist were on the briefs.
                                        Mr. Ralph A. Barney, with whom was Mr. Assistant At-
                                      torney General Perry W. Morton, for the defendant.
                                        Mr. James Craig Peacock for the intervenors.

                                                                         OPINION
                                        LARAMORE, Judge, delivered the opinion of the court :
                                         This is a suit against the United States by the Tlingit
                                       and Haida Indians of Alaska.' The jurisdictional act 2
                                      under which this suit is brought is set forth in full in find-
                                      ing 1. The act authorizes the court to "hear, examine, ad-
                                      judicate, and enter judgment upon any and all claims
                                      which said Indians may have, or claim to have, against the
                                      United States." Section 1 of the act defines the Tlingit and
                                      Haida Indians of Alaska as "all those Indians of the whole
                                      or mixed blood of the Tlingit and Haida Tribes who are
                                      residing in Russian America, now called the Territory of
                                      Alaska, in the region known and described as southeastern
                                      Alaska, lying east of the one hundred and forty-first merid-
                                      ian." Section 2 of the act describes and defines the claims
                                      which are authorized to be submitted to the court for "settle-
                                         1 0n April 8, 1954, Harry Douglas and 18 others described in their motion
                                      papers as chiefs and leaders of various clans of Tlingit Indians were permitted
                                      to intervene as parties plaintiff.
                                        2 Act of June 19, 1935, 49 Stat. 388, Ch. 275. Finding 1.


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Case 3:92-cv-00734-HRH Document 261-19 Filed 04/30/10 Page 1 of 5                                           Exhibit 15
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                                                                            was not that of the northwest coast Indians. The Athabas-
   In the same manner, the Haida Indians of Alaska likewise
                                                                            kans were an inland people and were considered by the
formed a homogeneous group. However, the Tlingits have
                                                                            Tlingit, who dominated them in trade dealings, as an in-
always been closely associated with the Haidas, with whom
                                                                            ferior people. In most areas the Athabaskans were effec-
they had close trade relations, their modes of life, customs,
                                                                            tively separated from the Tlingit by the coastal mountain
and habits closely resembling each other. The principal
                                                                            range which generally formed a practically impassable
differences between the two groups are the language and the
                                                                            physical barrier. The Tsimshians, on the other hand, were
almost exclusive degree of dependence of the Haidas for their
                                                                            northwest coast Indians with a culture similar to that of the
support on the coast, since they gave the interior of their
                                                                            Tlingit and Haida. The Tlingit and Haida Indians were
islands little attention. Certain similarities between the two
                                                                            the only Indians who inhabited, used, and occupied their
languages have caused some anthropologists to conclude that
                                                                            portions of southeast Alaska.
the Tlingit and the Haida are remote branches of the same
stock.                                                                      The Tlingit and Haida Social Structure—The Tribes.
   The Tlingit Indians as of 1867 had no chief or other politi-                 23. The term "tribe" is frequently employed to describe
cal body to govern them as a group. The Russians on at                       the entire Tlingit people, as well as the Haidas as a whole.
least two occasions had appointed a head chief for all the                   It is also used in connection with their various divisions
Tlingit, but these appointments had not changed the estab-                   and subdivisions, as hereinafter described. As so variously
lished customs of the Indians, which featured many highly                    applied, it has been used loosely and in an inexact sense.
developed rights, such as rights to authority, possessions, and             There were no political divisions of these Indians to which
prestige. None of these rights encompassed any authority                     the term "tribe" can be technically applied. However, in an
over the entire Tlingit people. However, any infringe-                       anthropological sense, the term has been most frequently ap-
ment of these rights that did exist in their culture demanded               plied to specific groups of these Indians who were located in
retribution in equal measure. From earliest times, the                      certain areas of southeast Alaska. The term, as applied to
Tlingit Indians were noted for a strict application of the                  these Indians, has geographical, rather than any political or
law of an eye for an eye and for the feuds that were waged                  organizational significance. The tribes, called "kons" by the
among them. Accordingly, the Tlingit Indians as a whole,                    Indians themselves (the word meaning "people"), were
though occupying one contiguous stretch of coast on the                     named after the river, bay, or island upon which their vil-
mainland and the adjoining islands, and though unified                      lages were situated. For instance, the Indians who settled or
by common customs, family ties, trade, ceremonials, and the                 had their villages in the Sitka area were in the earliest times,
consciousness of their oneness, nevertheless had not estab-                and ever since have always been, referred to as Indians of
lished by 1867 any political body to govern the entire Tlin-               the Sitka "tribe" or "Sitka-kon." Similarly, the Indians in
git people. In like manner, the Haida Indians had no politi-               the Yakutat area were referred to as the Yakutat "tribe,"
cal chief or body as of 1867.                                              or "Yakutat-kon." It is only in this geographical sense that
   22. The neighbors of the Tlingit and Haida Indians were                 the term "tribe" is generally used by anthropologists and in
the Athabaskan Indians on the east, inland from the coast,                 these findings.




                                                                  •
and the Tsimshian Indians on the southeast, in the region                      24. The social structure and various divisions and subdivi-
about Portland Canal. On the south, separated by Dixon                     sions of the Tlingit and Haida Indians are as follows :
Entrance, were the Queen Charlotte Island Haidas, consti-                      As stated in finding 21, neither the Tlingit nor Haida, as
tuting a different group of Haidas from those involved in                  such, was a, political Organization. Technically, these terms
this suit, who principally inhabited Prince of Wales and its               refer only to two separate, native languages, the Indians
adjoining islands. The culture of the Athabaskan Indians                   speaking these separate languages having come to be re-


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 ferred to as "Tlingit" or "Haida" Indians. The word "Tlin-                  As will be hereinafter more fully described, the local clans
 git" means "man" in their language.                                       in the village owned or claimed, in accordance with the In-
   All of these Indians were divided into two phratries or                 dian manner, large areas adjacent to the village. In
moieties Among the Tlingit, one was called Wolf and the                    some of these areas so owned or claimed, there were two or
other Raven, and among the Haida, one was called Eagle                     more villages, sometimes not distantly separated, in which
and the other likewise Raven. Similarly, neither moiety                    case the Indians of all these villages, comprising all their
had any social or political organization.                                  houses and local clans, were known as a "tribe." While
   Each moiety was in turn divided into a number of clans,                 there was no head of a tribe as such, nevertheless there was
membership in which descended through the mother. Each                     a sense of tribal unity and a community feeling of belong-
clan had its own distinctive name, traditions, and crests.                 ing to a particular geographical unit, which was bound to-
Marriage within the clan or moiety was forbidden. Origi-                   gether by ties of intermarriage, as well as ceremonial
nally there were approximately 55 of these clans, which,                   relationships.
again, had no social or political structure. Indians of these                 25. In 1867, the names of the Tlingit and Haida tribes, and
various clans, however, settled throughout the Tlingit and                 the names of their principal winter villages, were as follows :
Haida territory, and the division of a larger clan which
                                                                              Name of Tribe                          Name of Villages as of 1867
settled at a certain site or permanent village became known                                           TLINGITS
as a local clan. Thus, a clan was often distributed or di-                   1. Yakutat                                          Yakutat
vided among several villages, some of the larger clans being
                                                                             2. Chilkat-Chilkoot (sometimes referred to
widely scattered throughout southeastern Alaska. However,                                                                       Kalkwalt
                                                                                                                             2. Klukwan
                                                                                merely as the Chilkats, the Chilkoots being 1.
                                                                                considered as a subdivision)                 3. Chilkoot
other clans were wholly localized in a single community.                                                                     4. Yandestuka
   Since no one in the clan could marry anyone else from                                                                     5. Diea
that clan, a local clan had to associate with another local                  3. Huna                                           1. Huna
clan from the opposite moiety. Thus the two local clans                                                                        2. Tuxugu
from the opposite moieties settling in a village would con-                  4. Auk                                              Aynskultu
stitute a "tribe." Usually, however, several local clans would               5. Taku-Sumdum (sometimes referred to merely 1. Taku
settle in a village.                                                            as the Takus, the Sumdums being considered 2. Sumdum
                                                                                as a subdivision)
   The local clan divisions in a village were made up of
house groups. A village consisted of a number of large                       6. Hutsnuwu (sometimes referred to as the 1. Basket Bay
                                                                                "Angoons")                              2. Angoon
houses of the local clans, each house sheltering a number                                                               3 Killisnoo
                                                                                                                        4. Neltushkun
of families. Some houses were large enough to shelter a
dozen families.                                                              7. Sitka                                             Sitka
   Each house had a local clan designation. Its nucleus was                  8. Kake                                           1. Kake Village
                                                                                                                               2. Kake
the men of that clan, usually related to each other, such as
brothers. The house had its highest ranking man, or chief,                   9. Kuiu                                              Kuiu
usually the eldest member of the house. Also, each local                    10. Stikine                                           Wrangell
clan in the village had its highest ranking house, the chief                11. Henya                                          1. Shakan
of which was recognized as the highest ranking local clan                                                                      2. Tuxekon
                                                                                                                               3. Klawak
chief. Thus, it was the local clan subdivision and the house
                                                                            12. Sanya (sometimes referred to as the "Cape 1. Yes Bay
group of families which had any semblance of social or                          Fox" Indians, as well as the Saxman" 2. Cape Fox
                                                                                                                 -


political organization.                                                         Indians) 3. Loring




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   Name of Tribe                        Name of Villages as of 1867

                      TLINGITS—Continued
13. Tongass (sometimes the Sanyas and the           Tongass
   Tongass are grouped together as one tribe,
   the Tongass)

                             HAIDAS
 1. Kaigani                                       1. Kasaan
                                                  2. Sukkwan
                                                  3. Hawkan
                                                  4. Klinkwan
                                                  5. Koianglas

    At the present time the Tlingit and Haida Indians live
 in a number of native villages which are almost entirely
 Indian, but some live in large communities in principal
 cities of Alaska. The following are the names of the modern
 communities where the Indians of the Tlingit tribes live
 1. Yakutat tribe : Yakutat (located at the same place as.
 the original village) ; 2. Chilkat-Chilkoot tribe : (a) Klukwan
 (located at the same place as the original village), (b)
Haines ; 3. Huna tribe : Hoonah (located at the same place
 as the original village of Huna)'; 4. Auk tribe : Juneau ; 5.        .



 Taku-Sumdum tribe : Douglas; 6. Hutsnueum tribe • Angoon
 (located at the same place as the original village) ; 7. Sitka      -



tribe : Sitka (located at the same place as the original vil-
lage) ; 8. Kake tribe: Kake (located at the same place as             .


the original village) ; 9. Kuiu tribe : none ; 10. Stikine tribe :
Wrangell (located at the same place as the original village) ;    •



11. Henya tribe : Klawak (located at the same place as the
original village) ; 12. Sanya tribe : Ketchikan ; 13. Tongass
tribe : Saxman.
   The Haidas now live in Hydaburg.
   Yakutat, Klukwan, Hoonah, Angoon, Kake, Klawak, Sax-
man, and Hydaburg are the native villages.
   A map introduced in evidence as plaintiffs' exhibit 169 and
showing the location of Tlingit and Haida villages from 1867
to 1884 and the location of their modern villages is repro-
duced herein.
   26. The Kuiu is no longer in existence as a tribe. It dis-
integrated around 1890, some members of the tribe moving
to Klawak, others to 'Cake, and others to Wrangell.




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            TLINGIT— HAIDA TERRITORY
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